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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                          Case No.: 1:20−cr−00637
                                                            Honorable Manish S. Shah
Jeremiah Harris
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 11, 2022:


        MINUTE entry before the Honorable Manish S. Shah: as to Jeremiah Harris. A
defendant's request, and with no objection from the government, the telephone status
hearing on 1/12/22 is stricken and reset to 2/10/22 at 1:30 p.m. By 2/1/22, the defense
shall contact susan_mcclintic@ilnd.uscourts.gov to confirm whether defendant's presence
is being waived for the hearing or not. Time is excluded until 2/10/22 under the Speedy
Trial Act, without objection, to serve the ends of justice. The delay is necessary to give the
parties time for effective preparation, and outweighs the interests of the public and
defendant in a speedy trial. Members of the public and media may listen to these
proceedings by dialing 1−888−204−5984 and using access code 9146677. Counsel of
record and other essential case participants will receive an email prior to the start of the
telephone hearing with instructions to join the call. Persons granted remote access to
proceedings are reminded of the general prohibition against photographing, recording, and
rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions, including removal of court issued media credentials, restricted entry to future
hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
the Court. Notices mailed. (psm, )




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